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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
 UNITED STATES OF AMERICA,

                     Plaintiff,                        Case Number: 11-20129
              v.
                                                       HON. ROBERT H. CLELAND
 D-1 SCOTT WILLIAM SUTHERLAND, et al.

                   Defendants.
 ___________________________________/

 UNITED STATES OF AMERICA,

                     Plaintiff,                        Case Number; 11-20066

             v.
                                                       HON. ROBERT H. CLELAND
 D-1 JEFF GARVIN SMITH, et al.

                     Defendants.




         ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY


             The Court orders that the request of Defendant VICTOR C. CASTANO to substitute Richard G.

      Convertino, as attorney of record instead of James C. Howrath is hereby GRANTED.

       Contact information for new counsel is as follows:

                     Firm Name:     Convertino & Associates
                     Address:       424 North Main Street,
                                    Plymouth, Michigan, 48170,
                     Telephone:     (734) 927-9900 Facsimile: (734) 927-9904
                     E-Mail:        rgc@convertino.net




 s/Robert H. Cleland
ROBERT H. CLELAND
UNITED STATES DISTRICT JUDGE


Dated: August 13, 2013
I hereby  certify
       Case       that a copy of the foregoingECF
               2:11-cr-20129-SFC-EAS           document wasPageID.2319
                                                  No. 644,  mailed to counsel of record
                                                                           Filed        and/orPage
                                                                                  08/13/13     pro se2 parties
                                                                                                       of 2 on
this date, August 13, 2013, by electronic and/or ordinary mail.


 s/Lisa Wagner
Case Manager and Deputy Clerk
(313) 234-5522
